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lN THE UN|TED STATES DISTR|CT COURT w \ ` ‘ ` 7

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UN|TED STATES OF Al\/lERlCA
P|aintifl

VS.
CR. NO. 04-20254-D

SONNY SH|ELDS,
SHANNON SH|ELDS,
LENDZO EARL PARKER,
and JAMES STAFFORD

Defendant.

 

ORDER ON CONT|NUANCE AND SPEClFY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on April 14, 2005. At that time, counsel for the
defendants requested a continuance of the trial date due to pending proposed litigation
budgets before the Sixth Circuit Court of Appeals.

The Court granted the request and reset the trial date to August ‘l, 2005 With a
@port date of Thursdav, Ju|v 14. 2005, at 1:15 m, in Courtroorn 3. 9th Floor of the
Federal Building, |Vlernphis, TN.

The period from April 15, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

lT ls so oRDEREo this 0?5 day oprril, 2005.

 

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d on the docket sheet in compliance / Q©
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Honorable Berniee Donald
US DISTRICT COURT

